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Pre-Hearing Conference
Case No 14-BLC-19

Re: Southwest Metals, Inc
$122 Fort Street
Detroit MI 48209
Bus Lic # BUS 2010-00432
Owner: Joseph Fawaz

Witnesses:

Lt. Derek Hassan (retired)

Officer Antonio Carlisi

Set Jeffery Han

Officer Joseph Burton

Office Carmen Diaz

Officer Jennifer Brunson

Officer Katherine Zeikens

Officer Frank McCord

Officer Tommy Bell

Officer Thomas Zerberkot

Officer Crystal Barmore

Sgt Gerard Franklin

Christopher Fitch, Wise Construction
Paul Meiznitzer, AT&T

David Witts

Candance Whitsett, Cummings-More Graphite
William Clemens

Incidents:

— 11/15/11
Unannounced inspection - Lt. Hassan found 3 records vielations, 1 tag and hold

7/30/12
Bleachers stolen from Detroit Eagle Athletic Club, DPD verified by video sold to SW after being told by
SW they knew nothing about them.

8/23/12
Raymond Lotharp arrested at SW for selling brand new brass fittings stolen from his employer (SW
purchased 8 times and did not verify ownership)

8/23/12
Warning issued for trailer found in yard with no title or ownership documentation for purchase

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6/16/12-8/20/12

19 reported thefts of underground Michcon piping from vacant homes. Theft alert issued. Taiwain
Stephens and Dewitt Collins during interview stated that they continued selling them to southwest
metals. Statement from David Witts (SW scale operator who says he was told by Michael Yazbeck
(manager) to continue purchasing Michcon piping after theft alert).

12/14/12
Theft of mausoleum doors fram Woodmere cemetery. Theft alert issued. Found at SW. Statement from
David Witts admitting he was told to purchase these doors and video confirming purchase.

1/9/13

Multiple copper wire thefts reported by Cummings-More Graphite. Daniel Guzman, Donovan Russell
arrested for selling stolen metal at SW. 600 feet of copper wiring recovered, no ownership
documentation record by SW.

5/6/13

Theft alert for underground wire from 21 reported DTE substation break-ins. May 9, 2013, Lt. Hassan
found them at SW identified by serial numbers. Felony charges: Joe Fawaz 1 count conspiracy to buy
non-ferrous metal, 1 count conspiracy to receive and concealing stolen property (RCSP) $1k-20k, 1. count
RCSP. 2 employees Kevin Baatz, Scott Shillair, same counts and an additional count of buying non-
ferrous metal. Felonies plead down but over $10k paid in restitution.

9/19/13 .
Theft alert for AT&T wire — AT&T wire identified at SW and no records of documentation — warrant
requested. Discovered secret room in an out building (muffler shop} filled floor to celling with copper

and aluminum wire.

3/21/14

Violation #14FA096 - Employee tip that employees had been told not to tag and hold copper wire from
certain customers and that material was being moved to-1330 Industrial in Dearborn, Confirmed on
video that heavy gauge copper wire purchased on March 14 was not held as required by law. Search
warrant obtained. Copper wire not found on site as required by tag and hold law. Discovered
underground cable consistent with theft alerts and 4 aught wire in processing area. Receipt indicated
copper wire sold by Wise Construction which was denied by Wise,

Search warrant at 1330 Industrial, hundreds of pounds of underground and 4 aught wire found in truck
being moved from warehouse. No documentation for this material and hours of video missing.

5/9/14
Theft of radiators from Detroit firehouse sold at SW

6/13/14
Theft of materials from cemolition contractor sold to SW

7/17/14
Theft of materials from another scrapyard sold to SW

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7/29/14
Theft of new construction industrial brass downspouts from GM sold to SW

8/8/14
Theft of metal carts from Detroit Boiler sold to SW

9/12/14
Theft of industrial size copper piping, purchased by SW with no documentation from seller

10/3/14
Theft of industrial sized | beams stolen from city owned buildings sold to DW

10/12/14
Theft of metals from Southwest High School sold to SW —

10/21/14
Violation #14GA1089 issued for failure to keep records accessible for review

7/29-10/29/14

Violation# 14GA102 issued for failure to take photographs of metal sold, person responsible for 2400
block of Oakdale explosions sold metal without documentation to SW 49 times in 2014 and no pictures
could be produced.

41/12/14 .
Theft of metal fram southwest commercial business sold to SW

2/6/15
Suspects in structural steel thefts from another scrapyard determined to be regular sellers at SW, no
documentation ID or photographs of sales.

2/14/15
Superman sculpture stolen from alley behind Punch Bowl Social sold to SW.
No documentation on file - 2 defendants arrested.

3/1/2015
Warrants requested for Joe Fawaz and Greg Aslinger for 40 recordkeeping violations between 8/26/14
thru 2/26/15, repeated transactions with no ID, no photographs, no thumb print, no license plate

